            Case 1:21-cr-00046-RDM Document 40 Filed 06/23/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                         :
                                                  :
                                                  :
                v.                                :           Cr. No. 21-046 (RDM)
                                                  :
PATRICK MONTGOMERY,                               :
                                                  :
                  Defendant.                      :
____________________________________              :

        MOTION TO ADOPT AND JOIN MOTION FILED BY CO-DEFENDANT
           AND PRESERVE RIGHT TO FILE ADDITIONAL MOTIONS

       Mr. Patrick Montgomery, the defendant, through undersigned counsel, respectfully

moves this Honorable Court to allow Mr. Montgomery to adopt and join the Motion to Dismiss

Count Ten of the Indictment filed by co-defendant, Brady Knowlton, and preserve his right to

file additional motions. See ECF # 39. In support of this Motion, undersigned counsel

respectfully submits the following:

       1.       Mr. Montgomery, along with his co-defendant, Mr. Knowlton, have been charged

in Count Ten of the Indictment with Obstruction of an Official Proceeding and Aiding and

Abetting, in violation of 18 U.S.C. § 1512 (c)(2) and 2. See Indictment, ECF # 23, pg. 5.

       2.       On June 18, 2021, co-defendant, Brady Knowlton, filed a Motion to Dismiss

Count Ten of the Indictment. See ECF # 39.

       3.       It is in the interest of judicial economy to allow co-defendant, Patrick

Montgomery, to join in and adopt the Motion to Dismiss Count Ten of the Indictment filed by

his co-defendant. Id.

       WHEREFORE, for the foregoing reasons, the defense respectfully requests that this

Court grant Mr. Montgomery’s motion and allow him to adopt the relevant motion of his co-
         Case 1:21-cr-00046-RDM Document 40 Filed 06/23/21 Page 2 of 2




defendant and preserve the right to file additional motions.




                                              Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER


                                              ________/s/_________________
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